Case 3;17-cr-30047-N.]R Document 76-2 Filed 01/21/18 Page 1 of 1 Page |D #452

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

. )
IN RE: TARGET OF INVESTIGATION ) FILED UNDER SEAL
GRAND JURY MATTER ) 1
) .Case No.: 3:16-mj-3079-DGW
ALFRED CROSS )
ORDER APPOINTING

FEDER_AL PUBLIC DEFENDER
It is the finding of the Couxt that the above-named individual is unable to employ counsel,
does not Wish to Waive counsel and because the interests of justice so require, it is
ORDER.ED that the Federal Public Defender or a CJA Panel Attomey is appointed to
represent the above-named defendant, a target of a Grand Jury investigation, for disposition and
resolution of the investigation currently pending. v
The defendant may be required to contribute to the cost of representation depending on

circumstances to be determined at a later date.

IT IS SO ORDERED:

on this 11th day of July 2016

d/Dom¢’d_é.?#¢'¢'éeuo¢

DONALD G. WILKERSON
United States Magistrate Judge

cc: Assistant U.S. Attorney Scott A. Verseman

 

